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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                        )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10            v.                                       )         2:10-CR-003-JCM (PAL)
                                                       )         2:10-CR-039-JCM (PAL)
11    CHRISTOPHER J. BIGGERS,                          )
                                                       )
12                          Defendant.                 )

13                                       ORDER OF FORFEITURE

14            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States recover

15    from CHRISTOPHER J. BIGGERS an in personam criminal forfeiture money judgment in the amount

16    of $3,950.00 in United States Currency 2:10-CR-003-JCM (PAL) and an in personam criminal

17    forfeiture money judgment of $1,185.00 in United States Currency 2:10-CR-039-JCM (PAL) in

18    United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States

19    Code, Section 981(a)(1)(C) and Title 28, Unites States Code, Section 2461(c).

20                  February
              DATED this ______28,
                                day2012.
                                    of __________________, 2012.

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24
                                                  UNITED STATES DISTRICT JUDGE
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     Case 2:10-cr-00003-JCM-PAL          Document 128        Filed 02/28/12      Page 2 of 2




 1                                         PROOF OF SERVICE
 2            I, Heidi Skillin, certify that the following individuals were served with copies of the Order
 3    of Forfeiture on February 27, 2012, by the below identified method of service:
 4            Electronic Filing
 5            Jason F. Carr
              Assistant Federal Public Defender
 6            411 East Bonneville Avenue, Suite #250
              Las Vegas, Nevada 89101
 7            Jason_Carr@fd.org, karen_brokew@fd.org
              Counsel for Christopher Biggers
 8

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10                                                         /s/HeidiSkillin
                                                           HEIDI SKILLIN
11                                                         Forfeiture Support Associate Clerk
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